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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OKLAHOMA

   SAMMY BEETS AND MELISSA BEETS,                       )
   on behalf of T.B., a minor child, et al.,            )
                                                        )
                            Plaintiffs,                 )
                                                        )
   v.                                                   ) Case No. 09-CV-546-GKF-PJC
                                                        )
   BLUE TEE CORP., et al.,                              )
                                                        )
                            Defendants.                 )

                JOINT MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 41(a)(2)

               COME NOW Plaintiffs and Defendants Blue Tee Corp. (“Blue Tee”) and Gold Fields

   Mining, LLC (“Gold Fields”), through their respective undersigned counsel, pursuant to Rule

   41(a)(2) of the Federal Rules of Civil Procedure, and move for dismissal of Plaintiffs’ claims

   against Defendants Blue Tee and Gold Fields and the remaining Third-Party Claims of

   Defendants/Third-Party Plaintiffs Blue Tee and Gold Fields on terms set forth below. In support

   of this motion, Plaintiffs and Defendants Blue Tee and Gold Fields state as follows:

               1.    On November 11, 2011, Plaintiffs and Defendants Blue Tee and Gold Fields

   entered into an Agreement on Settlement Terms setting forth a procedure for resolving all claims

   between Plaintiffs and Defendants Blue Tee and Gold Fields.

               2.    On November 16, 2011, the Court entered an Order staying Plaintiffs’ claims

   against Defendants Blue Tee and Gold Fields pending consummation of the settlement between

   them. (Dkt. 231).

               3.    Pursuant to the Agreement on Settlement Terms, Defendants Blue Tee and Gold

   Fields have advised Plaintiffs’ counsel that they are prepared to proceed with the settlement.




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            4.        Prior to the filing of this Joint Motion to Dismiss Pursuant to Fed. R. Civ. P.

   41(a)(2), Defendants/Third Party Plaintiffs Blue Tee and Gold Fields each filed a Notice of

   Voluntary Dismissal Without Prejudice of Certain Third-Party Defendants Pursuant to Fed. R.

   Civ. P. 41(a)(1)(A)(i) (Dkt. Nos. 238 and 239) with regard to the third-party claims they had

   asserted against third-party defendants who never filed a responsive pleading in this case.

            5.        Following the filing of the Notice of Voluntary Dismissal referenced in the

   preceding paragraph, Defendants/Third-Party Plaintiffs Blue Tee and Gold Fields still have

   Third-Party Claims pending against the following Third-Party Defendants:

                      a.          Oklahoma Flint, LLP (Blue Tee)
                      b.          Flintrock Products, LLP (Blue Tee)
                      c.          RK Flint, LLC (Blue Tee)
                      d.          Joseph E. Mountford (Blue Tee)
                      e.          Catherine Jean Mountford (Blue Tee and Gold Fields)

            6.        Plaintiffs and Defendants Blue Tee and Gold Fields now seek the entry of an

   Order dismissing with prejudice all claims asserted by Plaintiffs against Defendants Blue Tee

   and Gold Fields. In addition, Defendants/Third Party Plaintiffs Blue Tee and Gold Fields seek

   the entry of an Order dismissing without prejudice Third-Party Complaints against all remaining

   Third-Party Defendants. A proposed Order effectuating these dismissals is being emailed to the

   Court concurrently herewith.

            7.        The attorneys for the Third-Party Defendants identified in paragraph 5, supra,

   have each advised that they do not oppose the dismissal without prejudice of the Third-Party

   Claims of Defendants/Third-Party Plaintiffs Blue Tee and Gold Fields against them.

            WHEREFORE Plaintiffs and Defendants Blue Tee Corp. and Gold Fields Mining, LLC

   respectfully request that the Court enter an Order of dismissal as outlined above.




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   Dated: March 9, 2012           SPEER LAW FIRM, P.A.

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                                                 AND GOLD FIELDS MINING, LLC



                                   CERTIFICATE OF SERVICE

           I certify that on March 9, 2012, I electronically transmitted the foregoing document to the
   Clerk of Court using the ECF System for filing and transmittal of a Notice of Electronic Filing to
   the following ECF registrants:

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